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                      UNITED STATES DISCTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

GILBERT SANCHEZ                         §
                                        §
VS.                                     §      CIVIL ACTION NO.: 4:19-CV-00110
                                        §
ENTERPRISE OFFSHORE DRILLING            §
LLC AND SMART FABRICATORS OF            §
TEXAS, LLC                              §




             DEFENDANT SMART FABRICATORS OF TEXAS, LLC’S
                  MEMORANDUM IN OPPOSITION TO
                   PLAINTIFF’S MOTION TO REMAND




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                               SUMMARY OF THE ARGUMENT

        Smart Fabricators of Texas, LLC (“SmartFab”) removed this case based on federal

jurisdiction under the Outer Continental Shelf Lands Act (“OCSLA”), which provides

jurisdiction because when Plaintiff Sanchez allegedly tripped and fell on the jack-up drilling rig in

question, it was jacked up in South Timbalier Block 125 on the Outer Continental Shelf.1 With

its removal, SmartFab acknowledged Sanchez’s allegation of Jones Act seaman status and his

claim that the allegation made his case “not removable.” However, SmartFab, as Sanchez’s

employer, denied Sanchez was a seaman, and averred that his seaman status claim was baseless

in law and fact and brought only to frustrate federal jurisdiction. The Jones Act was passed to

protect seamen who face the perils of the sea. Sanchez spent over 71% of his time working for

SmartFab on drilling rigs that were jacked up next to a pier, in no way facing perils of the sea,

and less than 20% of his time offshore on rigs under common control– and even then his work

time was spent on a rig jacked up free of any perils of the sea.

        Sanchez has moved to remand, claiming that he is a seaman because he “spent a majority

of [his] time working on vessels and on water”; that he “spent a substantial part (much greater

than 30%) of [his] total work time for Smart Fabricators working aboard a vessel or vessels”; that

he “was assigned to work on Enterprise 263, and had been there for at least one week before the

incident occurred” that while working on Enterprise 263 (for at least a week), he “slept on the

vessel … ate on the vessel … and spent the entire 24-hour day on the vessel.” Sanchez’s

allegations are vague and conclusory, and he conspicuously fails to allege the primary requirement

for seaman status—that the drilling rigs were “in navigation” while he was aboard. Sanchez omits


1
 Doc. 1 at 2-3, citing e.g., Barker v. Hercules Offshore, Inc., 713 F.3d 208, 220 (5th Cir. 2013); 43 U.S.C. §
1349(b)(1); Affidavit of Glen Whitman, Doc. 1-9.

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this key detail because the drilling rigs were not in navigation—they were jacked up free of the

sea and its perils—and for the vast majority (over 70%) of his time the rigs were not only jacked

up, but jacked up next to a pier or dock, with no exposure to the perils of the sea, and with

Sanchez returning home at the end of every day, just like the other shipyard workers employed

by SmartFab.

          In a further attempt to frustrate this Court’s jurisdiction, Sanchez dismissed defendant

Enterprise Offshore in the apparent hope that it would destroy the grounds for OCSLA

jurisdiction—ignoring that the validity of removal is determined by the state of facts existing at

the time of the removal and is not affected by later changes to the suit. The facts establish that

Sanchez has no colorable claim to seaman status, and the Court should deny Sanchez’s motion

to remand and retain its federal subject-matter jurisdiction under the OCSLA.

                              NATURE AND STAGE OF THE CASE

          This is a personal injury case in which Plaintiff Sanchez purports to be a Jones Act

Seaman. The alleged accident took place on a drilling rig jacked up on the Outer Continental

Shelf. Defendants jointly removed under the OCSLA,2 averring that the Jones Act claim was

fraudulently asserted to defeat removal. The case is in its earliest stage, with the Initial Pretrial

and Scheduling Conference set for March 15, 2019, at 2:00 p.m.




2
    43 U.S.C. § 1349(b)(1).

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                         ISSUE TO BE RULED ON BY THE COURT

        The issue is whether Sanchez’s claim of grounds for remand—that he is a Jones Act

seaman—lacks a reasonable basis in fact.3 To establish seaman status, Sanchez must show (1) his

duties contribute to the function of the vessel or to the accomplishment of its mission, and (2)

he has a substantial connection to a vessel in both nature and duration.4 The second prong is not

met unless the worker establishes permanent assignment to a vessel or that he actually works on

a vessel at least 30% of the time.5 If the Court has subject-matter jurisdiction it has no discretion

to remand and must deny the motion to remand. Cuevas v. BAC Home Loans Servicing, L.P., 648

F.3d 242, 248 (5th Cir. 2011). Review of orders on removal and remand is de novo. McLaurin v.

U.S., 392 F.3d 774, 777 (5th Cir. 2004).

                                      LAW AND ARGUMENT

1.      The Court should examine whether Plaintiff’s claim of seaman status is proper.

        Sanchez claims this case should be remanded because he sued under the Jones Act, and

Jones Act claims are generally not removable. But the fact that Jones Act claims are not generally

removable does not preclude examination into whether a particular claim is proper. An

improperly pleaded Jones Act claim does not bar removal.6 If a defendant can establish that the

Jones Act claims are baseless and improperly pleaded to avoid federal jurisdiction, the suit is

subject to removal.7 A defendant may pierce the pleadings to show that the Jones Act claim has

been fraudulently pleaded to prevent removal.8 The district court may examine affidavits and



3
  Case v. Omega Natchiq, Inc., C.A. No. H-08-08352008, WL 2714124, *1 (S.D. Tex. 2008)
4
  Chandris, Inc. v. Latsis, 515 U.S. 347 (1995).
5
  Alexander v. Express Energy Services Operating, L.P., 784 F.3d 1032, 1035 (5th Cir. 2015).
6
  Case, WL 2714124, *1 (citing Fields v. Pool Offshore, Inc., 182 F.3d 353, 356 (5th Cir. 1999)).
7
  Id., (citing Burchett v. Cargill, 48 F.3d 173, 175-76 (5th Cir. 1995)).
8
  Id., (citing Lackey v. Atl. Richfield Co., 990 F.2d 202, 207 (5th Cir. 1993)).

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other material, but the court’s review should not amount to an evidentiary hearing.9 Remand

should be denied if the court determines that there is no reasonable basis on which the plaintiff

may establish seaman status.10

2.      There is no reasonable basis to conclude that Plaintiff had a connection to
        vessels in navigation that was substantial in duration and nature.

        In Chandris, Inc. v. Latsis,11 the Supreme Court set forth a two-part analysis to determine

whether an employee qualifies as a Jones Act seaman: (1) the employee’s duties must contribute

to the function of the vessel or the accomplishment of the vessel’s mission; and (2) and the

employee must have a connection to the vessel in navigation that is substantial in both duration

and nature.12 As to the requirement for a substantial connection, courts “should emphasize that

the Jones Act was intended to protect sea-based maritime workers, who owe their allegiance to a

vessel, and not land-based employees, who do not.”13 Workers injured aboard vessels are eligible

for seaman status only if they are “masters or members of its crew.”14

        In Chandris, the Court explained that the fundamental purpose of the substantial-

connection requirement is to give full effect to the remedial scheme created by Congress in the

Jones Act, and to separate the sea-based maritime employees, who are entitled to Jones Act

protection, from those land-based workers who have only a transitory or sporadic connection to

a vessel in navigation, and therefore whose employment does not regularly expose them to the

perils of the sea.15 “[T]he ultimate inquiry is whether the worker in question is a member of the


9
  Id. (citing Burden v. Gen. Dynamics Corp., 60 F.3d 213, 217 (5th Cir. 1995)).
10
   Id. (citing Fields, 182 F.3d at 356 (quoting Burchett, 48 F.3d at 175).
11
   515 U.S. 347, 115 S.Ct. 2172 (1995),
12
   515 U.S. at 376, 115 S.Ct. at 2194.
13
   Id.
14
   Stewart v. Dutra Const. Co., 543 U.S. 481, 495, 125 S.Ct. 1118, 1127 (2005).
15
   515 U.S. at 368; 115 S.Ct. at 2190.

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vessel’s crew or simply a land-based employee who happens to be working on the vessel at a

given time.”16 In the Papai case, the Court further explained the inquiry must concentrate on

whether the employee’s duties take him to sea:

       For the substantial connection requirement to serve its purpose, the inquiry into
       the nature of the employee’s connection to the vessel must concentrate on
       whether the employee’s duties take him to sea. This will give substance to the
       inquiry both as to the duration and nature of the employee’s connection to the
       vessel and be helpful in distinguishing land-based from sea-based employees.17

       Therefore, to prove his seaman claim, Sanchez must establish that he is a member of the

crew contributing to the function of the vessel and that he works at least 30% of the time on a

vessel in navigation. He cannot do so because he spent less than 20% of his time offshore, and

even then, the vast majority of that time was spent with the rig jacked up out of the sea.

      a.      Plaintiff spent less than 20% of his time offshore on a rig under common
              control.

       Plaintiff’s work as a welder on the ENTERPRISE 263 may have contributed to its

function or the accomplishment of the vessel’s mission (part one of the test); however, when the

total circumstances of his employment with SmartFab are considered, he cannot establish a

connection to a vessel or vessels in navigation that is substantial in both duration and nature.

       Sanchez worked for SmartFab sporadically. From the beginning of his employment with

SmartFab on August 17, 2017, through the date of his accident on August 8, 2018 (a span of 356

days), Plaintiff only worked for SmartFab for a total of 67 days.18 Of those 67 days, 50 were spent

either working in the shop (2 days) or working on a rig that was jacked up out of the water next




16
   515 U.S. at 370; 115 S.Ct. at 2191.
17
   Harbor Tug and Barge Co. v. Papai, 520 U.S. 548, 555, 117 S.Ct. 1535, 1540 (1997) (emphasis added).
18
   See Declaration of Wayne F. Boyd, attached and incorporated as Doc. 14-1 at ¶ 11.

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to a pier (48 days).19 For those 50 days, Plaintiff went home every night.20 Only 17 of those 67

days were spent offshore, and even those days were spent with the rig securely jacked up out of

the water, resting on the sea floor.21

       Only 14 of the 17 offshore work days were spent on a rig under common ownership or

control with the rig on which he worked for 48 days previously.22 Even if the days actually

offshore are counted as time on a vessel “in navigation” (despite being jacked up and therefore

not subjected to normal perils of the sea), Plaintiff spent less than twenty-six percent (26%) of

his days on a vessel in navigation, and those days were not on vessels under common control.

These percentages are illustrated by the following chart:


                           Plaintiff spent Less than 20% of his time
                                     offshore for Enterprise
                                     3%

                                         6%                       Days at shop ‐ Versabar ‐ 3%
                              19%
                                                                  Days on Ensco 75 ‐ jacked up
                                                                  offshore ‐ 5.8%
                                                                  Days on Enterprise WFD 350 ‐

                                  72%                             jacked up dockside ‐ ‐ 71.6%
                                                                  Days on Enterprise 263 ‐ jacked
                                                                  up offshore ‐ 19.4%




19
   Court Doc. # 14-1 at ¶ 11.
20
   See Id.
21
   See Id.
22
   Court Doc. # 14-1 at ¶ 12. In reaching the 30% threshold, plaintiffs can only amalgamate time on
vessels under common control. See, e.g., Papai, 520 U.S. at 577, 117 S.Ct. at 1541.

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        As stated above, to be a Jones Act seaman, the claimant must have a substantial

connection to a vessel in navigation.23 When a vessel is withdrawn from service for significant,

extensive repairs or renovation, it is no longer considered to be in navigation.24

        Plaintiff’s Affidavit in support of his Motion to Remand does not provide a reasonable

basis for seaman status. He alleges he worked for SmartFab “for numerous months” but does

not say how many, and this is not a fair description of working 67 days over a one-year period.25

He alleges he spent “a majority of [his] time working on vessels and on water,” and “a substantial

part (much greater than 30%) of [his] total work time for Smart Fabricators working aboard a

vessel,” but he does not identify how much time, or on which vessels.26 Plaintiff does not allege

that he was exposed to any perils of the sea. See Doc. 9-4.27 His only allegation about time on a

vessel is that he “was assigned to work on Enterprise 263, and had been there for at least one

week before the incident occurred,” and that while on the Enterprise 263 (“for at least a week”),

he “slept on the vessel” and “ate on the vessel.”28 Plaintiff has not presented evidence establishing

30% or more of his total work time for SmartFab was on a vessel in navigation.29

        The only competent evidence before the Court is SmartFab’s, which shows that Plaintiff

spent only 20% of his employment time “at sea” (away from docks or piers) on a vessel under

common control, and even that work time was spent with the rig jacked up out of the water,




23
   515 U.S. at 376, 115 S.Ct. at 2194.
24
   515 U.S. at 374, 115 S.Ct. at 2192-93.
25
   Doc. 9-4 at ¶ 2.
26
   Id.
27
   Id.
28
   Doc. 9-4 at ¶ 3.
29
   See, e.g., Alexander, 784 F.3d at 1037 (affirming summary judgment that plaintiff failed to carry burden
of establishing seaman status with evidence of at least 30% of his time working on a vessel in
navigation).

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resting firmly on the seabed. In other words, Plaintiff’s duties “took him to sea” (away from a

dock) on a vessel under common control for less than 20% of his employment time with

SmartFab. As a matter of law, this is simply not enough per the Supreme Court’s holdings in

Papai30 and Chandris.31

       b.      Sanchez was not a member of a vessel’s crew.

        As shown by the attached Declaration of SmartFab’s President and Operations Manager,

SmartFab does not own or operate any vessels. It does not provide crews or crewmembers to

any vessels. It does not require that its employees carry any kind of Coast Guard or Merchant

Marine license, document, or other type of license to work on board vessels;32 nor does Plaintiff

suggest that he has any such licenses or other qualifications to serve as a member of a vessel’s

crew. The entire time he worked for SmartFab, Plaintiff never worked as a member of a crew of

a vessel in navigation.33 His only work on drilling rigs was while they were securely jacked up on

the sea floor, with the body of the rig out of the water and not subject to waves, tides, or other

water movement.34 His work was limited to welding and fitting, and his job duties did not include

any work related to the operation or navigation of the rigs, such as line handling, steering, watch

standing, engine operation, or any drilling-related function.35 The rigs were not operating or

navigating when Mr. Cruz was aboard them, but rather were undergoing extensive repairs.36



30
   520 U.S. at 555, 117 S.Ct. at 1540 (seaman status inquiry must concentrate on whether the
employee’s duties take him to sea.).
31
   515 U.S. at 371, 115 S.Ct. at 2191 (establishing a rule of thumb that a worker who spends less than
about 30 percent (30%) of his time in the service of a vessel in navigation should not qualify as a Jones
Act seaman).
32
   Court Doc. # 14-1 at ¶¶ 4-6.
33
   Court Doc. # 14-1 at ¶ 13.
34
   Court Doc. # 14-1 at ¶ 13.
35
   Court Doc. # 14-1 at ¶ 14.
36
   Court Doc. # 14-1 at ¶ 14.

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Plaintiff was not purposely assigned by SmartFab to rigs under common ownership or control.

Instead, he was assigned to work on whatever project SmartFab was hired to do.37 In his

Declaration, Plaintiff does not allege the vessel(s) he worked on were in navigation.

        This is not just SmartFab’s say so. Enterprise Offshore, the operator of the

ENTERPRISE 263, for whom SmartFab was working, confirms the docked and/or jacked up

status and location of the two Enterprise rigs that Plaintiff worked on while with SmartFab, and

denies that Plaintiff was a member of the crews of those rigs.38 Enterprise further confirms that

the rigs in question had their own crews (which did not include Plaintiff), had no engines, and

were undergoing extensive repairs when Plaintiff was upon them, and were not exposed to the

perils of the sea.39

       c.      Plaintiff was not exposed to perils of the sea.

        In contrast to this case, an example of facts demonstrating exposure to uniquely maritime

perils is In re Endeavor Marine Inc., 234 F.3d 287, 289 (5th Cir. 2000), in which the Fifth Circuit

reversed a summary judgment finding against a seaman status claim, holding that the “going to

sea” requirement is satisfied when the employee’s connection to the vessel regularly exposes him

to maritime perils.40 The plaintiff in Endeavor Marine was a derrick barge crane operator who

loaded and unloaded cargo vessels in the Mississippi River. His job required him to travel over

water to his worksite and exposed him to the uniquely maritime dangers that arose when his

barge was moored to the cargo vessels that he was assigned to load or unload.41 He was injured


37
   Court Doc. # 14-1 at ¶ 15.
38
   See Declaration of Glen Whitman, attached and incorporated as Doc. No. 14-2 at ¶¶ 5-10, and
Declaration of Hugo Gesch, attached and incorporated as Doc. No. 14-3 at ¶¶ 5-10.
39
   See Doc. No. 14-2 at ¶¶ 7-11 and Doc. No. 14-3 at ¶¶ 7-11.
40
   234 F.3d at 291.
41
   Id. at 289.

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when struck by a mooring cable while waiting for his barge to be positioned alongside the cargo

vessel.42 The crane operator was engaged in classic maritime duties when he was injured by a

classic peril of the sea – a broken mooring line. By contrast, Sanchez was hurt himself by tripping

over a pipe—a distinctly nonmaritime endeavor. A case with very similar facts is Schultz v.

Louisiana Dock Co., 94 F. Supp. 2d 746 (E.D. La. 2000). The plaintiff in that case, like Plaintiff

here, was a welder/fitter who worked on repairing vessels. He slept at home and drove to work

each day. He did not eat or sleep on any of the barges he worked on. He never traveled or

participated in any voyages with any of the barges he worked on, and he never acted as a deckhand

on any of the vessels.

          Looking at the aggregate circumstances of Schultz’s work, the court determined that his

duties were limited to inspecting and repairing barges moored at the facility. Like Sanchez, he

had no work of a seagoing nature on any vessels used to transport him around the facility. Like

Sanchez, Schultz worked on random vessels, owned by random entities, for random periods of

time. His assignment to any vessel was random and impermanent. He owed no allegiance to any

vessel. He did not qualify as a seaman:

          Regardless of whether plaintiff spent one percent or 100 percent of his time
          performing repair work on barges brought to the facility for repair, working from
          vessels or being transported around the facility by vessels, the aggregation of
          circumstances speaking to the nature of his work and his connection to any
          identifiable vessel(s) demonstrate that, as a matter of law, he is not a seaman. None
          of plaintiff’s work was of a seagoing nature. 43

          All of these factors are true with respect to Sanchez. He worked on random vessels owned

by different entities. His assignment to those vessels was random and impermanent. He was not



42
     Id.
43
     94 F. Supp. 2d at 750.

                                                   10
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a crew member but a passenger of any vessels he is transported on to get to his work. He went

home at the end of over 70% of the days he worked for SmartFab. The injury was not caused by

a maritime appurtenance or apparatus and could just have easily occurred on a land-based drilling

rig. The aggregate of Sanchez’s work is simply not maritime and he does not qualify as a seaman.

           Some cases have recognized seaman status for workers on vessels that are not in

navigation, but those cases do not apply here. See, e.g., Naquin v. Elevating Boats, L.L.C., 744 F.3d

927, 930 (5th Cir. 2014) (plaintiff who spent 70% of his time aboard lift-boats while they were

moored, jacked up, or docked in employer’s shipyard canal still “remain[ed] exposed to the perils

of a maritime work environment” sufficient to sustain jury verdict of liability under Jones Act).

Even that holding has been questioned. In her dissent from the majority in Naquin, Judge Jones

pointed out that the majority holding was “irreconcilable with Chandris’s basic point, which is that

land-based employees like Naquin are not seamen.” She reasoned as follows:

          Unlike the plaintiff in Chandris, Naquin did not sail on a ship that was temporarily
          docked. He worked almost exclusively on vessels that were moored, jacked up, or
          docked in the shipyard undergoing repair, and found himself on a navigable vessel
          only on rare occasions. . . . According to the majority, these repairmen could
          always claim that they spent their time working on vessels ‘in navigation’ despite
          the fact they do all of their work on or tied to land, safely removed from maritime
          dangers. To me, this outcome defies logic and disregards the overarching purpose
          of the Jones Act as stated in Chandris.”44

          Judge Jones went on to complain that although the majority made a “categorical

assertion” that near-shore workers “still remain exposed to the perils of the sea,” they cited no

facts showing that Naquin, who spent nearly all of his time on boats moored to a dock, faced any

maritime perils in the ordinary course of his duties. She noted that the majority’s generalizations

about Naquin’s employment ran contrary to the fact-specific inquiry that the Supreme Court has


44
     744 F.3d at 942.

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recommended for determining seaman status, citing McDermott Int’l, Inc. v. Wilander, 498 U.S. 337,

356, 111 S.Ct. 807, 112 L.Ed.2d 866 (1991)(holding that Jones Act status turns on the employee’s

“precise relation” to the vessel).45

        Naquin does not apply here because the vast majority of this Plaintiff’s time was spent not

just moored at a dock (as Naquin), but on a rig jacked up at a dock. Moored vessels are exposed

to perils of the sea, for example by wave wash of passing vessels.46 A jack-up drilling rig can float

but has legs that can be lowered into the seabed. Once the legs are secured in the seabed, the rig

can be “jacked-up” out of the water to create a drilling platform.47 Jacked up drilling rigs are free

of perils of the sea, and are the full equivalent of fixed platforms, which are themselves considered

the equivalent of land. See, e.g., Brennan v. Shell Offshore, Inc., 612 So.2d 929, 933-34 (La. App.

1993)(jacked up barge is similar to fixed platform when jacked up); Demette, 280 F.3d at 509

(jacked up drilling rig is, when jacked up, functionally indistinguishable from a fixed drilling

platform; both stand on legs resting on the bottom; and both have work decks and platforms

high enough above the water to avoid currents and waves)(DeMoss, J., dissenting); Rodrigue v.

Aetna Cas. Co., 395 U.S. 352, 362, 89 S.Ct. 1835, 1840 (1969)(fixed platforms are treated as

islands); Brown v. Eurocopter S.A., 38 F. Supp. 2d 515, 517 (S.D. Tex. 1999)(fixed platform is the

legal equivalent of dry land).



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   744 F.3d at 943.
46
   See, e.g., Matthiews v. Crosby Tugs, LLC, C.A. No. 15-5985, 2016 WL 6821956 at *1 and 2016 WL
7183276 at *2 (E.D. La. Nov. 18 and Dec. 9, 2016)(seaman on docked vessel injured by wave wash of
passing vessel); In re Quality Marine Services, Inc., XX-XXXXXXX WL 1155854 at *1 E.D. La. May 9,
2005)(pleasure boaters on moored boats injured by wave wash of passing vessel).
47
   Demette v. Falcon Drilling Co., Inc., 280 F.3d 492, 495 (5th Cir. 2002), overruled on other grounds, Grand Isle
Shipyard, Inc. v. Seacor Marine, LLC, 589 F.3d 778 (5th Cir. 2009). See also, United States v. Kaluza, 2013
WL 6490341, at *3 (E.D. La. 2013), aff'd in part, 780 F.3d 647 (5th Cir. 2015) (jack-up rig’s extendable
legs are “jacked” down to the ocean floor for support, “allowing the work area to be raised ... above
the water level”).

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3.     Plaintiff’s dismissal of Enterprise Offshore does not deprive this Court of
       jurisdiction.

       Plaintiff dismissed his claim against co-defendant and vessel operator Enterprise

Offshore without prejudice immediately prior to filing his Motion to Remand. His purpose for

doing so is unclear, but SmartFab presumes Plaintiff intended to eliminate the original basis for

jurisdiction, as it was Enterprise’s rig that provided the OCS situs. But jurisdictional facts are

determined at the time of removal, and post-removal events do not affect that properly

established jurisdiction. Louisiana v. Am. Nat. Prop. Cas. Co., 746 F.3d 633, 636 (5th Cir. 2014);

Hernandez v. Cent. Power & Light, 880 F. Supp. 494, 496 (S.D. Tex. 1994). If federal claims are

dismissed, the Court has discretion to remand to state court, but a plaintiff’s attempt to

manipulate the forum is a factor to consider in the exercise of that discretion. Carnegie-Mellon

University v. Cohill, 484 U.S. 343, 357, 108 S.Ct. 614, 622 (1988). Sanchez’s dismissal of Enterprise

Offshore, whose rig provided the OCS situs, is an apparent attempt to manipulate the forum and

improperly divest the Court of its subject-matter jurisdiction.

                         CONCLUSION AND RELIEF SOUGHT

       Plaintiff’s affidavit fails to establish a reasonable basis on which he might establish seaman

status, and SmartFab’s evidence conclusively negates any suggestion of a substantial connection

to vessels in navigation. Accordingly, SmartFab requests that this Court deny Plaintiff’s Motion

to Remand. SmartFab further requests all other relief to which it may be entitled at law, in

admiralty, and/or in equity.

                                              Respectfully Submitted,

                                              /s/ M. Matt Jett
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                                CERTIFICATE OF SERVICE

        I hereby certify that on March 1, 2019, a true and correct copy of the above and foregoing
document was served by electronic filing and service via CM/ECF on the following at the listed
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